Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 1 of 20   1




    1                       UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
    2                           FORT PIERCE DIVISION
                              CASE NO. 17-14009-CR-JEM
    3

    4      UNITED STATES OF AMERICA,

    5                       Plaintiff,

    6            vs.

    7                                               Fort Pierce, Florida
                                                    June 26, 2017
    8      RALPH ROBERT JAMES SERGO,
                              SERGO,                Pages 1-20

    9                     Defendant.
           _______________________________________________________________
   10

   11                     TRANSCRIPT OF CHANGE OF PLEA HEARING
                          BEFORE THE HONORABLE JOSE E. MARTINEZ
   12                         UNITED STATES DISTRICT JUDGE

   13
           APPEARANCES:
   14
           FOR THE PLAINTIFF:
   15                             United States Attorney's Office
                                  BY: CARMEN LINEBERGER,
                                              LINEBERGER, A.U.S.A.
   16                             101 South US Highway 1
                                  Suite 3100
   17                             Fort Pierce, Florida 34950

   18
           FOR THE DEFENDANT:
   19                             BY: ROBERT B. MEADOWS, ESQ.
                                  2145 14th Avenue
   20                             Suite 24
                                  Vero Beach, Florida 32960
   21

   22
           REPORTED BY:           DAWN M. SAVINO,
                                          SAVINO, RPR
   23                             Official Court Stenographer
                                  400 N. Miami Avenue, 10S03
   24                             Miami, Florida 33128
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Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 2 of 20    2




    1                             P-R-O-C-E-E-D-I-N-G-S

    2                COURTROOM DEPUTY:     Case number

    3      17-14009-criminal-Martinez, United States of America versus

    4      Ralph Robert James Sergo.

    5                Counsel, please state your appearance.

    6                MS. LINEBERGER:     Good afternoon, Your Honor.      Carmen

    7      Lineberger on behalf of the Government.

    8                THE COURT:     Good afternoon, Ms. Lineberger.

    9                MR. MEADOWS:     Good afternoon, Your Honor.      Bob Meadows

   10      on behalf of the Defendant, Mr. Sergo.

   11                THE COURT:     Good afternoon, Mr. Meadows.

   12                Mr. Sergo, it's my understanding that you desire to

   13      change your plea of not guilty to guilty; is that correct?

   14                THE DEFENDANT:     Yes, Your Honor.

   15                THE COURT:     Please stand and be sworn.

   16                (Defendant placed under oath)

   17                THE COURT:     Please be seated.

   18                I want to advise you, Mr. Sergo, that you're now under

   19      oath, and if you answer any questions falsely, your answers may

   20      later be used against you in a separate prosecution for perjury.

   21      Perjury is a separate offense, but a very serious one, sometimes

   22      more serious than the underlying offense.

   23                Do you understand that?

   24                THE DEFENDANT:     Yes, Your Honor.

   25                THE COURT:     I'm going to ask you a series of questions



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                               TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 3 of 20   3




    1      to make sure that you understand these proceedings.          It's very

    2      important that if you do not understand the question, you don't

    3      answer it.     You stop, you ask your lawyer, you ask me, between

    4      the two of us, I'm sure we'll be able to explain everything to

    5      your complete satisfaction so that you fully understand it.

    6                On the other hand, if you do answer a question, I would

    7      assume that you understood it, and I believe that anybody

    8      reading the record that's being made of these proceedings at a

    9      later time would be within their rights to assume that if you

   10      answered a question, you understood it.

   11                So in short, if you don't understand, stop, don't

   12      answer.

   13                Do you understand what I just said?

   14                THE DEFENDANT:     Yes, Your Honor.

   15                THE COURT:    Please tell me your full name.

   16                THE DEFENDANT:     Ralph Robert James Sergo.

   17                THE COURT:    What is your age?

   18                THE DEFENDANT:     23.

   19                THE COURT:    What is the extent of your formal

   20      education?

   21                THE DEFENDANT:     I went to high school, I have my high

   22      school degree.     Also went to college at a community college here

   23      in Fort Pierce, as well as I went to a community college in

   24      Gainesville.

   25                THE COURT:    And what is the -- have you ever been



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                                TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 4 of 20   4




    1      treated for any mental illness?

    2                  THE DEFENDANT:     No.

    3                  THE COURT:     Have you ever been treated for any drug

    4      addiction?

    5                  THE DEFENDANT:     No.

    6                  THE COURT:     Are you presently under the influence of

    7      any type of drug, medication or alcoholic beverage any kind?

    8                  THE DEFENDANT:     No.

    9                  THE COURT:     Have you received a copy of the indictment

   10      pending against you; that is, the written charges?

   11                  THE DEFENDANT:     Yes, sir.

   12                  THE COURT:     Have you had the opportunity to fully

   13      discuss these charges and the case in general with your

   14      attorney?

   15                  THE DEFENDANT:     Yes, sir.

   16                  THE COURT:     Are you fully satisfied with the

   17      representation and advice given to you in this case by your

   18      attorney?

   19                  THE DEFENDANT:     Yes, sir.

   20                  THE COURT:     Counsel, are you satisfied that your client

   21      understands these proceedings?

   22                  MR. MEADOWS:     Yes, Your Honor.

   23                  THE COURT:     Mr. Sergo, there are certain rights that

   24      you waive, or give up, by entering a plea of guilty.          I'm not

   25      suggesting there's anything wrong with doing that; in fact,



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                                TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 5 of 20   5




    1      often it's the best thing to do after you've had the opportunity

    2      to discuss it with your lawyer and get his advice.         But I don't

    3      want somebody at a later time to come in and say well, he didn't

    4      know -- for example, he didn't know he had a right to a trial by

    5      jury, or he didn't know he could have witnesses testify for him.

    6      So I'm going to go through some of these rights with you now and

    7      make sure that you understand that you are waiving them, or

    8      giving them up, by entering a plea of guilty.

    9                For example, do you understand that you have the right

   10      to plead not guilty to any offense charged against you and to

   11      persist in that plea of not guilty as long as you want?

   12                THE DEFENDANT:     Yes.

   13                THE COURT:    Do you understand that you would have the

   14      right to a trial by jury, during which you would also have the

   15      right to the assistance of counsel for your defense?

   16                THE DEFENDANT:     Yes.

   17                THE COURT:    Do you understand that you have the right

   18      to see and hear all the witnesses against you and have them

   19      cross-examined in your defense?

   20                THE DEFENDANT:     Yes, sir.

   21                THE COURT:    Do you understand that you have the right

   22      not to testify, but that you may voluntarily elect to testify in

   23      your own defense, but that only can you make that decision; not

   24      your lawyer, not your family, not your friends, not your

   25      codefendants, only you?



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                               TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 6 of 20   6




    1                THE DEFENDANT:     Yes, sir.

    2                THE COURT:    Do you understand that you have the right

    3      to the issuance of subpoenas, or compulsory process, to compel

    4      the production of persons and objects here for the purpose of

    5      your defense?

    6                THE DEFENDANT:     Yes, sir.

    7                THE COURT:    Do you understand that you may have

    8      witnesses testify in your defense?

    9                THE DEFENDANT:     Yes, sir.

   10                THE COURT:    Do you understand that by entering a plea

   11      of guilty, if I accept that plea, there will be no trial, and

   12      you will have waived, or given up, your right to a trial, as

   13      well as all the other rights associated with a trial, some of

   14      which I have just described to you?

   15                THE DEFENDANT:     Yes, sir.

   16                THE COURT:    Do you understand that the offense to which

   17      you are pleading guilty is a felony?

   18                THE DEFENDANT:     Yes, sir.

   19                THE COURT:    If I accept your plea, you will be adjudged

   20      guilty of a felony, and such adjudication may deprive you of

   21      valuable civil rights such as the right to vote, the right to

   22      hold public office, the right to serve on a jury, the right to

   23      possess any kind of firearm and if you are an alien, that you

   24      may be subject to deportation.

   25                THE DEFENDANT:     Yes, sir.



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 7 of 20   7




    1                 THE COURT:   Would the Government please advise me of

    2      the maximum penalty provided by law, and any mandatory minimum

    3      penalty as to the count or counts to which the Defendant is

    4      pleading guilty.

    5                 MS. LINEBERGER:    Your Honor, as to Count 1, the Court

    6      must impose a mandatory minimum sentence of five years, up to

    7      the statutory maximum term of 40 years imprisonment, followed by

    8      a term of supervised release of four years up to life.             In

    9      addition to any term of imprisonment and supervised release, the

   10      Court may impose a fine up to $5 million.

   11                 As to Counts 2 and 4, the Court must impose a mandatory

   12      minimum sentence of ten years, up to the statutory maximum term

   13      of life imprisonment, followed by a term of supervised release

   14      of five years up to life.      In addition to a term of imprisonment

   15      and supervised release, the Court may impose a fine of up to $8

   16      million.

   17                 As to Count 3, the Court must impose a mandatory

   18      minimum sentence of five years, up to the statutory maximum term

   19      of life imprisonment, consecutive to any other sentence imposed,

   20      followed by a term of imprisonment -- I'm sorry, followed by a

   21      term of supervised release of five years up to life.          In

   22      addition to a term of imprisonment and supervised release, the

   23      Court may impose a fine of up to $250,000.

   24                 As to Count 5, the Court must impose a mandatory

   25      minimum sentence of 25 years, up to the statutory maximum term



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 8 of 20   8




    1      of imprisonment, consecutive to any other sentence imposed,

    2      followed by a term of supervised release of five years up to

    3      life.   In addition to any term of imprisonment and supervised

    4      release, the Court may impose a fine of up to $250,000.          In

    5      addition, there's a special assessment in the amount of $500 for

    6      each of the -- I'm sorry. $100 for each of the five counts which

    7      would total a $500 special assessment.

    8                THE COURT:    All right, sir.     You heard what the maximum

    9      sentence was.    Do you understand that's what you're imposing

   10      yourself to with your plea of guilty?

   11                THE DEFENDANT:     Yes, Your Honor.

   12                THE COURT:    The United States Sentencing Commission has

   13      issued advisory guidelines for judges to consider in determining

   14      an appropriate sentence in a criminal case.        Have you and your

   15      attorney talked about how the sentencing guidelines might apply

   16      to your case?

   17                THE DEFENDANT:     Yes, Your Honor.

   18                THE COURT:    Do you also understand that after it's been

   19      determined what guidelines apply, I have the authority to impose

   20      a sentence that is more severe, or less severe, than the

   21      sentence called for by the guidelines?

   22                THE DEFENDANT:     Yes, Your Honor.

   23                THE COURT:    Do you understand that parole has been

   24      abolished in the federal system?

   25                THE DEFENDANT:     Yes, Your Honor.



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 9 of 20   9




    1                THE COURT:    Would the Government please summarize the

    2      counts of the indictment to which the Defendant is pleading, and

    3      state the elements of each crime?

    4                MS. LINEBERGER:     Yes, Your Honor.    Count 1 charges that

    5      on or about October 11, 2016 in St. Lucie County, the Defendant

    6      did knowingly and intentionally attempt to import into the

    7      United States one gram or more of a mixture and substance

    8      containing a detectable amount of Lysergic Acid Diethlyamide,

    9      also known as LSD, which is a Schedule 1 controlled substance.

   10      With regard to "attempt", the Government must prove beyond a

   11      reasonable doubt the Defendant knowingly intended to commit the

   12      crime.   Count 1 involves importation.       And Number 2, that the

   13      Defendant's intent was strongly corroborated by his taking a

   14      substantial step toward committing the crime.         A substantial

   15      step is an important action leading up to the committing of an

   16      offense, not just an inconsequential act.        It must be more than

   17      simply preparing, it must be an act that would normally result

   18      in committing the offense.

   19                Count 2 charges on or about January 12, 2017 in St.

   20      Lucie County, the Defendant did knowingly and intentionally

   21      possess with intent to manufacture and distribute a controlled

   22      substance.    It is alleged that that substance involved ten grams

   23      or more of a mixture and substance containing a detectable

   24      amount of Lysergic Acid Diethlyamide, also known as LSD, a

   25      Schedule 1 controlled substance.       With regard to possession with



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 10 of 20   10




     1     intent to manufacture and distribute, the Defendant -- Number 1,

     2     the Government would have to prove the Defendant knowingly

     3     possessed LSD.     Number 2, the Defendant intended to possess with

     4     intent to manufacture and distribute LSD.         Number 3, the weight

     5     of the LSD for this particular count was ten grams or more.           And

     6     "intended to distribute" is a plan to deliver possession of a

     7     controlled substance to someone else, even if nothing of value

     8     is exchanged.

     9                Count 3 involves on January 17, 2017 in St. Lucie and

    10     Martin Counties, the Defendant did knowingly carry a firearm

    11     during and in relation to a drug trafficking crime, and did

    12     knowingly possess a firearm in furtherance of a drug trafficking

    13     crime which is a felony prosecutable in a court of the United

    14     States.    And specifically referring to Count 2 of the

    15     indictment, the Government would have to prove that the

    16     Defendant knowingly possessed a firearm and Number 2, it was in

    17     furtherance of any drug trafficking crime for which he could be

    18     prosecuted in a court of the United States, or that it was

    19     carried during and in relation to a drug trafficking crime.

    20                Count 4 is on or about January 17, 2017 in St. Lucie

    21     and Martin Counties, in the Southern District of Florida, the

    22     Defendant did knowingly and intentionally attempt to distribute

    23     a controlled substance, and that substance involved is alleged

    24     to have involved ten grams or more of a mixture and substance

    25     containing a detectable amount of Lysergic Acid Diethlyamide,



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 11 of 20   11




     1     also known as LSD, a Schedule 1 controlled substance.

     2                With regard to this count, the Government would have to

     3     prove the Defendant knowingly intended to commit the crime of

     4     distribution of a controlled substance, in this case LSD, and

     5     the Defendant's intent was strongly corroborated by his taking a

     6     substantial step toward committing the crime.

     7                Count 5 is regarding on or about January 17, 2017 in

     8     St. Lucie and Martin Counties, in the Southern District of

     9     Florida, the Defendant did knowingly carry a firearm during and

    10     in relation to a drug trafficking crime, and did knowingly

    11     possess a firearm in furtherance of a drug trafficking crime,

    12     which is a felony prosecutable in a court of the United States.

    13     This count refers to the Count 4 of the indictment.          And the

    14     Government would have to prove that the Defendant knowingly

    15     possessed a firearm, and that it was in furtherance of any drug

    16     trafficking crime for which he could be prosecuted in a court of

    17     the United States, or it was carried during and in relation to a

    18     drug trafficking crime.

    19                That would constitute all five counts of the

    20     indictment, Your Honor.

    21                THE COURT:   All right, sir.     You heard what the

    22     Government said.     Is that what you understand you're pleading

    23     guilty to?

    24                THE DEFENDANT:    Yes, Your Honor.

    25                THE COURT:   Would the Government make a representation



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 12 of 20   12




     1     concerning the facts you would be prepared to prove at trial.

     2                MS. LINEBERGER:     Your Honor, on October 11, 2016,

     3     Homeland Security Investigations and the US Postal Inspector

     4     Kevin Henry intercepted an international mail parcel shipped

     5     from Denmark addressed to the defendant's business, LeBowe, LLC

     6     at 2447 Southeast Pascal Avenue, Port St. Lucie, Florida.           A

     7     border search of the parcel revealed LSD that was hidden in some

     8     facial cream.     The LSD was tested by CBP laboratory and it did

     9     weigh approximately 5.9 grams.       And that did come from a country

    10     outside of the United States.

    11                That package had been tracked from an internet IP

    12     address assigned to the Defendant, Ralph Sergo, who was also

    13     listed as a manager of LeBowe, LLC.        He's also listed by Florida

    14     DAVID records as living and registering vehicles at the address.

    15                On January 17th, a federal search warrant was executed

    16     on that aforementioned residence, and inside that residence,

    17     agents did locate LSD in glass jars which weighed approximately

    18     74.71 grams, and was tested as LSD by Customs and Border

    19     Protection laboratory.       They also found a second jar of an

    20     orange granular substance which CBP lab indicated was also LSD

    21     and weighed approximately 72.76 grams. 10 granules weighing

    22     approximately .15 grams, the total material in that orange

    23     substance consisted of approximately 4,850 doses.

    24                Agents found FedEx mailing bags of a dark brown

    25     bark-like substance which tested positive as Dimethyltryptamine,



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 13 of 20   13




     1     known as DMT, which is a hallucinogen and Schedule 1 controlled

     2     substance, that weighed approximately 26.76 grams.          There was

     3     paraphernalia, as well as perforated sheets of paper known as

     4     blotter paper, which is used as a delivery method for LSD, as

     5     well as liquids which appeared to be an administration agent for

     6     the LSD.

     7                 Agents also discovered shipping materials which

     8     indicated that apparently the Defendant was also shipping the

     9     substance out, not just importing it.

    10                 During the execution of the search warrant, the

    11     Defendant arrived in his 2016 Honda van.         He was encountered and

    12     was in possession of a loaded Smith and Wesson 38 Caliber

    13     revolver.    From inside the van, agents located a shipping

    14     receipt which led them to the Post Office in Stuart, and they

    15     intercepted an outbound postal envelope which contained a

    16     substance that tested positive for LSD and weighed 74.37 grams.

    17     The material consisted of approximately 5,312 doses.

    18                 In summary, the Defendant, after waiving Miranda

    19     rights, did admit that he was exporting LSD to Mexico, and had

    20     been expecting a package from Denmark that he had not received.

    21     Agents had previously intercepted a package from Denmark that

    22     contained 898 grams of MDMA from the Defendant's bedroom, United

    23     States currency was seized, as well as numerous firearms from

    24     his bedroom and around the house in which the aforementioned LSD

    25     was found.



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 14 of 20   14




     1                The firearms were found by a nexus expert to have been

     2     made outside of Florida, and there was an RG .22 Caliber

     3     revolver that was made inside of Florida, but found to have

     4     traveled in interstate commerce.

     5                As a result of investigation, the Government seized

     6     $15,787 US currency and approximately 66.95285919 of Bitcoin.

     7     That represents the proceeds derived from violations in Counts

     8     1, 2 and 4.     The electronics seized and referenced in the plea

     9     agreement were used or intended to be used to facilitate Counts

    10     1, 2 and 4, and the six firearms referenced in the plea

    11     agreement were used or intended to be used to facilitate the

    12     violations in Counts 3 and 5.

    13                Thank you, Your Honor.

    14                THE COURT:   All right.    You heard what the Government

    15     said.   If this case were to go to trial, do you believe they

    16     could prove what they just said?

    17                THE DEFENDANT:    Yes, Your Honor.

    18                THE COURT:   Is it true?

    19                THE DEFENDANT:    Yes, Your Honor.

    20                THE COURT:   All right.    I have here a -- I believe it's

    21     a six-page document, that is pretty much verbatim what she said,

    22     and then some additional things.       And on Page 5 it has I, Ralph

    23     Robert James Sergo, am aware of and understand the nature of the

    24     charges to which I'm pleading guilty because I've discussed the

    25     charges, and what the Government prosecutor must prove to



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 15 of 20   15




     1     convict me, with my attorney.          I understand the United States

     2     must prove the following facts or elements, then it goes into

     3     the elements.

     4                When you signed this, did you know what you were

     5     signing?

     6                THE DEFENDANT:     Yes, Your Honor.

     7                THE COURT:     Do you believe you understood it?

     8                THE DEFENDANT:     Yes, Your Honor.

     9                THE COURT:     Did you have the opportunity to discuss it

    10     with your lawyer?

    11                THE DEFENDANT:     Yes, Your Honor.

    12                THE COURT:     Did you discuss it with your lawyer?

    13                THE DEFENDANT:     Yes.

    14                THE COURT:     Mr. Meadows, do you believe that your

    15     client fully understood this factual proffer at the time that he

    16     executed it?

    17                MR. MEADOWS:     Yes, Your Honor.

    18                THE COURT:     All right.     I'll have this marked as an

    19     exhibit and attached to the file.

    20                Would the Government summarize the essential terms of

    21     the written plea agreement, "summarize" being the operative

    22     word?

    23                MS. LINEBERGER:     Your Honor, the Defendant agrees to

    24     plead guilty to Counts 1, 2, 3, 4 and 5 of the plea agreement.

    25     He is aware that there are sentencing guidelines and that there



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 16 of 20   16




     1     is no parole under the guidelines.        He has acknowledged each of

     2     the sentences for each of the five counts.         He has agreed to

     3     forfeiture of US currency and items used in the crime.           The

     4     Government agrees that it will recommend three levels of

     5     acceptance unless the Defendant violates the terms of the

     6     agreement.    The Defendant agrees he will be cooperating fully

     7     with the United States by providing truthful and complete

     8     information and testimony, appearing at any hearings or trials

     9     where needed, and will work along with agents and other law

    10     enforcement officers with regard to investigating any further

    11     crimes he knows about.

    12                The Government agrees that if his assistance is deemed

    13     to be substantial, the Government will recommend to the court a

    14     downward departure to be filed prior to sentencing under section

    15     5K1.1 or after sentencing via a Rule 35.         He understands that

    16     the sentence is up to the Court, not to the Government.

    17                He also waives his right to appeal the sentence imposed

    18     and he acknowledges that he has fully discussed all matters in

    19     the plea agreement and the guilty plea with his attorney, and he

    20     understands the rights that he is giving up, and that this is

    21     the entire agreement between the Government and the Defendant.

    22                THE COURT:   All right.    You heard what the Government

    23     said.   Is that your general understanding of the plea agreement?

    24                THE DEFENDANT:    Yes, Your Honor.

    25                THE COURT:   Okay.    Once again, I have another document.



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 17 of 20   17




     1     This one is ten-pages long, and on the 10th page it has three

     2     signatures:     That of Ms. Lineberger, that of your attorney,

     3     Mr. Meadows, and what appears to be a signature above your name.

     4     Is that your signature?

     5                 THE DEFENDANT:     Yes, Your Honor.

     6                 THE COURT:     Before you signed it, did you read this

     7     document?

     8                 THE DEFENDANT:     Yes, Your Honor.

     9                 THE COURT:     Do you believe you understood it?

    10                 THE DEFENDANT:     Yes, Your Honor.

    11                 THE COURT:     Did you discuss it with your attorney?

    12                 THE DEFENDANT:     Yes.

    13                 THE COURT:     Mr. Meadows, do you believe that your

    14     client fully understand this agreement at the time he executed

    15     it?

    16                 MR. MEADOWS:     Yes, Your Honor.

    17                 THE COURT:     You do understand that any recommendations

    18     that are made to me are just that, recommendations, and I don't

    19     have to accept them?

    20                 THE DEFENDANT:     Yes.

    21                 THE COURT:     Other than what's contained in these ten

    22     pages, is there any other or different promises or

    23     recommendations or assurances made to you of any kind in an

    24     effort to induce you to enter a plea of guilty?

    25                 THE DEFENDANT:     No.



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Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 18 of 20   18




     1                THE COURT:   Has anyone threatened you in any way to

     2     force you to plead guilty, threatened or coerced you?

     3                THE DEFENDANT:    No, Your Honor.

     4                THE COURT:   All right.    I'll have this also marked as

     5     an exhibit.

     6                Do you understand that if I don't accept any sentencing

     7     recommendations, you will still be bound by your plea and have

     8     no right to withdraw it?

     9                THE DEFENDANT:    Yes, Your Honor.

    10                THE COURT:   Do you understand if the sentence is more

    11     severe than you expected it to be, you will still be bound by

    12     your plea and have no right to withdraw it?

    13                THE DEFENDANT:    Yes, Your Honor.

    14                THE COURT:   How do you now plead to Counts 1, 2, 3, 4

    15     and 5?

    16                MS. LINEBERGER:    Yes, Your Honor.

    17                THE COURT:   Counts 1, 2, 3, 4 and 5 of the indictment

    18     pending against you?      Guilty or not guilty?

    19                THE DEFENDANT:    I plead guilty.

    20                THE COURT:   It is the finding of this Court in the case

    21     of the United States versus Ralph Robert James Sergo that the

    22     Defendant is fully competent and capable of entering an informed

    23     plea.    That his plea of guilty is a knowing and voluntary plea

    24     supported by an independent basis in fact containing each of the

    25     essential elements of the offenses.        His pleas are therefore



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 19 of 20   19




     1     accepted, he is now adjudged guilty of Counts 1, 2, 3, 4 and 5

     2     of the indictment pending against him.

     3                A written Presentence Report will be prepared by the

     4     Probation Office to assist me in sentencing you.          You will be

     5     asked to give information for the report and your attorney may

     6     be present if you so desire.       I will permit you and your counsel

     7     to read the Presentence Report before the sentencing hearing,

     8     and you will be given an opportunity to speak at that hearing

     9     which I'm hereby scheduling for Monday, October 2, 2017 at 1:30

    10     p.m. in this courthouse.

    11                Counsel is advised to comply with administrative orders

    12     regarding implementation of sentencing procedures, particularly

    13     time periods within those orders.

    14                I refer you to the Probation Office for a Presentence

    15     Investigation and Report.

    16                Counsel, if you have any specific requests for

    17     treatment modalities or place of incarceration, please raise it

    18     during the Presentence Investigation Report.         If it's brought up

    19     for the first time at the time of sentencing, I will not

    20     consider it.    I don't want to enter into a lifelong

    21     correspondence with the Bureau of Prisons as to why I can't send

    22     him to the prison for criminally insane women that you've asked

    23     me to send him to, so please ask before so the Probation Office

    24     can check it out.

    25                Anything else?    We'll be in recess on this matter.



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 2:17-cr-14009-JEM Document 57 Entered on FLSD Docket 01/16/2018 Page 20 of 20   20




     1                 MS. LINEBERGER:   Thank you, Your Honor.

     2                 MR. MEADOWS:   Thank you, Your Honor.

     3                  (PROCEEDINGS CONCLUDED)
                                          * * * * *
     4
                                 C E R T I F I C A T E
     5     I certify that the foregoing is a correct transcript from the
           record of proceedings in the above-entitled matter.
     6

     7     1-15-2018                  /s/ Dawn M. Savino
           Date                       DAWN M. SAVINO, RPR
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